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6
                                       UNITED STATES DISTRICT COURT
7
                                  CENTRAL DISTRICT OF CALIFORNIA
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      SUMMER JOY LAKE, et al.,                   )   Case No. CV 19-9334 FMO (JCx)
10                                               )   Case No. CV 20-1563 FMO (JCx)
                          Plaintiffs,            )
11                                               )
                   v.                            )   JUDGMENT
12                                               )
      WELLS FARGO BANK, N.A., et al.,            )
13                                               )
                          Defendants.            )
14                                               )
                                                 )
15                                               )
       JEANNIE KIM                               )
16                                               )
                          Plaintiff,             )
17                 v.                            )
                                                 )
18    WELLS FARGO BANK, N.A., et al.,            )
                                                 )
19                        Defendants.            )
                                                 )
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21          IT IS ADJUDGED that the above-captioned cases are dismissed with prejudice.

22    Dated this 30th day of June, 2020.

23                                                                     /s/
                                                                Fernando M. Olguin
24                                                         United States District Judge

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